        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 1 of 10



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    IN RE DOMESTIC AIRLINE TRAVEL
    ANTITRUST LITIGATION

_                                                             MDL Docket No. 2656
____________________________________                          Misc. No. 15-1404 (CKK)
  __
  This Document Relates to:
  ALL CASES.



                 REPORT AND RECOMMENDATION NO. 4
    REGARDING DEFENDANTS’ MOTION TO COMPEL PLAINTIFFS TO ANSWER
              CERTAIN OF DEFENDANTS’ INTERROGATORIES
                            (June 13, 2018)

       Before the Special Master is Defendants’ Motion to Compel Plaintiffs to answer

Defendants’ Interrogatories Nos. 8-10, 15, 16(a), and 16(b). Having reviewed the briefs of the

parties and having heard oral argument, the Special Master recommends that the Court grant in

part and deny in part Defendants’ motion.

                                           Background1

       This case has been pending before this Court since October 2015, when earlier-filed

actions in multiple jurisdictions were consolidated and transferred to this Court. [Transfer Order

from the Judicial Panel on Multidistrict Litigation to the U.S. District Court for the District of

Columbia, (ECF No. 1)]. Plaintiffs filed a Consolidated Amended Class Action complaint on

March 25, 2016. (ECF No. 91). The essence of their complaint is that four major airlines—

American Airlines, Inc. (“American”), Delta Air Lines, Inc. (“Delta”), Southwest Airlines Co.



1
 To give context to the instant dispute, the Special Master believes it is appropriate to outline the
overall scope of discovery to date.
          Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 2 of 10



(“Southwest”), and United Airlines, Inc. (“United”)—fixed prices for domestic airlines tickets by

keeping capacity artificially low. (Id. at ¶ 1).

          Discovery began on January 30, 2017. [Scheduling Order Regarding Discovery and

Briefing on Motion for Class Certification, at 1 (ECF No. 152, ¶ 1)]. Defendants served their

First Set of Interrogatories on Plaintiffs on March 20, 2017, including Interrogatories Nos. 8-10,

which are the subject of the current motion. Among other things, these interrogatories ask

“Plaintiffs to provide the facts supporting the allegations in Plaintiffs’ complaint of Defendants’

supposed unlawful agreement.” (Defs.’ Mot. to Compel at 1).2 Plaintiffs objected to these

interrogatories on April 19, 2017, as “premature,” noting “[d]iscovery has only recently begun”

and referred Defendants to the Complaint. (Pls.’ Responses and Objections to Defs.’ First Set of

Interrogatories to All Plaintiffs at 13-15).

          Shortly after discovery began, in February 2017, each Defendant produced to Plaintiffs

the documents it had produced to the Department of Justice (“DOJ”) pursuant to a Civil

Investigative Demand (“CID”) issued by DOJ. The parties reported at a weekly status

conference with the Special Master that the DOJ production totaled approximately 450,000

documents. [See also, Joint Status Rep., May 31, 2018 at ¶¶ II (A-C) (ECF No. 243)].

Defendants also produced the privilege logs they had submitted to DOJ.

          By the end of July 2017, Defendants produced to Plaintiffs at least 400 gigabytes of

transactional data, “which consisted of, among other things, detailed information about every trip

by hundreds of millions of passengers on Defendants’ domestic flights between 2007 and 2016,”

and “airline ticket purchases.” [See, Joint Status Rep., Nov. 13, 2017 at 2 (ECF No. 194)].



2   The full text of Interrogatories Nos. 8-10 is set forth infra at 4.

                                                      2
         Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 3 of 10



         Beginning in the winter of 2017-2018, Defendants made rolling production of documents

to Plaintiffs from custodians, as well as documents from shared drives (the core documents). As

of April 30, 2018, production of these core documents was complete. Defendants’ core

document production totaled approximately 6.4 million documents. Plaintiffs produced

approximately 15,000 documents. [See, Joint Status Rep., May 31, 2018 at ¶¶ II (A-D)(ECF No.

243)].

         In addition, Plaintiffs subpoenaed documents from 37 third-parties, of which 24 have

produced documents to Plaintiffs totaling “more than 975,000 pages of documents and

substantial data.” (Id. at ¶ III).

         While the discovery was ongoing, on December 20, 2017, Plaintiffs and Defendant

Southwest executed a settlement agreement, which the Court preliminarily approved on January

3, 2018. (ECF No. 196-2, ECF No. 197). Under the terms of that settlement agreement,

Southwest agreed to make a cash payment to Plaintiffs, as well as to cooperate with “Plaintiffs in

pursuing their case against non-settling Defendants.” [Memorandum in Support of Motion for

Preliminary Approval of Settlement with Defendants Southwest Airlines Co. at 1 (ECF No. 196-

1)].

         Following announcement of the settlement with Southwest, the remaining three

Defendants jointly served additional interrogatories on Plaintiffs, seeking among other

information: “facts provided to Plaintiffs by Southwest pursuant to their Settlement Agreement”

(Interrogatory 15); “the name of the airline industry expert made available to Plaintiffs and paid

for by Southwest under … the Settlement Agreement” [Interrogatory 16(a)]; and “the names of

Southwest employees interviewed by Plaintiffs pursuant to . . . the Settlement Agreement”

[Interrogatory 16(b)]. (Defs.’ Motion to Compel, Exh. 2). Following Plaintiffs’ objections to the

                                                 3
        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 4 of 10



Third Set of Interrogatories, the parties met and conferred in an attempt to resolve their

disagreements concerning interrogatories. (See, e.g., Defs.’ Motion to Compel, Exhs. 5-8).

Although the parties resolved some issues during the meet and confers, Interrogatories Nos. 8-

10, 15, 16(a), and 16(b) remain unresolved.

                                    Interrogatories Nos. 8-10

   The first group of Interrogatories before the Special Master are Interrogatories Nos. 8-10,

which ask Plaintiffs to:

          Identify each agreement (including any understanding, contract,
          combination, or conspiracy) among the Defendants for which You seek
          relief in this case and the documents and evidence substantiating your
          answer. [Interrogatory No. 8]

          Identify all meetings and communications, direct or indirect, between or
          among Defendants, related to the alleged conspiracy, and for each identify
          the persons participating in the meeting or communication, the date of the
          meeting or communication, and the location and describe the meetings and
          communications. [Interrogatory No. 9]

          Describe in detail the facts supporting Your allegation that that Defendants
          agreed to ‘fix, raise, maintain, and/or stabilize prices for air passenger
          transportation services’ by ‘colluding to limit capacity on their respective
          airlines’ (Complaint ¶ 1), including each capacity-related action that
          resulted from the alleged agreement; each flight, city-pair and segment
          affected by the alleged agreement; the capacity that would have been
          provided or available but-for the alleged agreement; the price(s) actually
          charged; and the price(s) that would have been charged but for the alleged
          agreement. [Interrogatory No. 10]

       In response to Defendants’ present motion, Plaintiffs continue to object, as they did in

April 2017, that these interrogatories are “premature” “contention” interrogatories that do not

need to be answered until “the end of discovery.” (Pls.’ Opp. at 9). Moreover, Plaintiffs argue




                                                 4
        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 5 of 10



that “it is simply unrealistic and a waste of party resources to require Plaintiffs to identify all

facts now.” (Id.).3

        Regardless of whether these interrogatories are or are not deemed “contention

interrogatories,” in the end Federal Rule of Civil Procedure 33(a)(2)4 expressly vests courts with

authority to order parties to respond to contention interrogatories. In any event, in this case the

Court explicitly authorized Defendants collectively to serve 25 contention interrogatories. [See

Discovery Stipulation and Order, March 13, 2017 at ¶ III (ECF No. 160)].

        Rather than engage in a detailed examination of what is or is not a “contention

interrogatory,” the real issue is one of timing; that is, whether answering interrogatories, however

denominated, now will clarify and narrow the issues in dispute. See, e.g., In re Convergent

Technologies Securities Litigation, 108 F.R.D. 328, 338 (N.D. Ca. 1985) (The key issue is

whether ordering answers to interrogatories at this time “will contribute meaningfully to clarify

the issues in the case, narrowing the scope of dispute, or setting up early settlement discussions,

or that such answers are likely to expose substantial basis for a motion under Rule 11 or Rule

56”).


3 Plaintiffs also contend that Defendants are not deprived of any facts needed to fashion their
defense as Defendants’ own records will be the primary source of information of the alleged
antitrust conspiracy. (Pls.’ Opp. at 9). This argument is not persuasive. Although a party may
produce or identify its own business records instead of providing a narrative answer to an
interrogatory under Federal Rule of Civil Procedure 33(d), the rules do not allow the responding
party to rely on production of another party’s documents to satisfy its obligations under Rule 33.
Furthermore, the purpose of interrogatories is not merely to gather information and evidence; it
is also a tool to require a party to state its positions on an issue in writing and under oath. See
Covad Comm. v. Revonet, Inc., 258 F.R.D. 17, 20 (D.D.C. 2009).
4Fed. R. Civ. P. 33(a)(2) provides: “[A]n interrogatory is not objectionable merely because it
asks for an opinion or contention that relates to fact or the application of law to fact, but the court
may order that the interrogatory need not be answered until designated discovery is complete, or
until a pretrial conference or some other time.”

                                                   5
        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 6 of 10



       The Special Master concludes that, at this juncture, where the cases were filed over two-

and-a-half years ago, where counsel has conducted 15 months of discovery, and where core

document discovery is complete, this case will benefit from Plaintiffs answering Interrogatories

8, 9 and part of 10. See, e.g., Mills v. Billington, 2008 WL 11388757 at *2 (D.D.C. 2008)

(“Because discovery in this case has been ongoing from more than a year, the Court finds it

appropriate for Plaintiffs to respond to inquiries about the basis of their claims.”).

       Answers to the interrogatories at issue have a high probability of focusing the issues and

establishing the significant facts relevant and pertinent to Plaintiffs’ claims and allegations. In a

case as sprawling and voluminous as this case is, intermediate milestones will be helpful to keep

discovery and, indeed, the case as a whole on track. Answers to these interrogatories are likely

to aid all the parties in assessing the strengths and weaknesses of their cases. Moving from

pleading allegations to identifying evidence can serve as a helpful reality check. The Special

Master does not agree that requiring answers at this juncture will be a waste of time and

resources.

       Plaintiffs should answer these interrogatories based on their knowledge as of the time

they answer the interrogatories. As the court noted in In re Domestic Drywall Antitrust

Litigation, 300 F.R.D. 228, 231 (E.D. Pa. 2014):

             At this stage, Plaintiffs do not yet have sufficient information to identify all
             the relevant actors and communications. But it is reasonable to expect
             Plaintiffs to be able to identify at least some of them. Defendants have a
             reasonable need to know the identities of the products, individuals who
             discussed prices with competitors, and the dates and substance of the
             communications, to proceed with their own effective discovery and
             investigation.

If Plaintiffs have not yet identified evidence to support their allegations, they may so indicate.



                                                    6
        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 7 of 10



        Answering these interrogatories at this time does not limit Plaintiffs only to what they

now say. Plaintiffs may amend and/or supplement their interrogatory responses as more

evidence is discovered. Indeed, Plaintiffs have an ongoing duty to supplement their responses

under Federal Rule of Civil Procedure 26(e).

        Recognizing that final production of core documents occurred on April 30, 2018,

Plaintiffs should have the opportunity to review the recent document productions. Thus,

Plaintiffs shall serve their answers by July 23, 2018. The July 23 date also gives the parties time

to prepare for depositions, which the parties expect to begin in late summer and fall. (See, Joint

Status Rep., May 31, 2018 at 1).

        With respect to Interrogatory No. 10, however, Plaintiffs should answer only that portion

that requests Plaintiffs to:

           [d]escribe in detail the facts supporting Your allegation that that Defendants
           agreed to ‘fix, raise, maintain, and/or stabilize prices for air passenger
           transportation services’ by ‘colluding to limit capacity on their respective
           airlines’ (Complaint ¶ 1), including each capacity-related action that
           resulted from the alleged agreement; each flight, city-pair and segment
           affected by the alleged agreement[.]

        The Special Master recommends Plaintiffs not be ordered to respond on July 23 to the

remainder of Interrogatory No. 10, which asks about “the capacity that would have been

provided or available but-for the alleged agreement; the price(s) actually charged; and the

price(s) that would have been charged but for the alleged agreement.” These latter requests may

well be impacted by future discovery and will likely require expert opinion and testimony. Thus,

the Special Master concludes that responses to these matters in Interrogatory No. 10 are more

properly addressed under this Court’s schedule and process set forth for expert discovery. See,




                                                 7
       Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 8 of 10



Expert Stipulation and Order, Mar. 13, 2017 (ECF No. 159), and Amended Scheduling Order

Regarding Discovery and Class Certification, Feb. 14, 2018, (ECF No. 207).

                           Interrogatories No. 15, and 16 (a) and (b)

       The Interrogatories subject to the current Motion to Compel read:

       Interrogatory No. 15:

          Describe in detail the facts and information disclosed by Southwest under
          the provisions of the Settlement:

          (a) requiring disclosure of “facts then known to Southwest that are relevant
          to the claims asserted in the Action” (Settlement at 14–15);
          (b) requiring Southwest to provide information from its “senior executive
          management” to Plaintiffs “through an attorney proffer session” (id. at 18);
          and
          (c) requiring Southwest to respond “to a reasonable number of targeted,
          specific requests for particular information” from Plaintiffs (id.).

       Interrogatory No. 16:

          Identify and provide contact information for the following individuals
          designated under the Settlement:

          (a) the industry expert designated under the provision requiring Southwest
          to “facilitate an informational meeting or meetings between Plaintiffs’
          Counsel and an industry expert regarding the domestic air transportation
          industry” (id. at 13);
          (b) the Southwest employees or former employees designated under the
          provision requiring Southwest to “make available for interviews with
          Plaintiffs’ Counsel and/or their experts up to seven (7) current Southwest
          employees at the Vice President level or lower or former Southwest
          employees at the Vice President level or lower represented by Southwest’s
          Counsel, as designated by Plaintiffs’ Counsel” (id. at 17)[.]

       As written, these interrogatories focus on discovering what information Southwest

provided Plaintiffs pursuant to their Settlement Agreement. Plaintiffs primarily object to these

interrogatories on the basis that responses will disclose attorney-work product. As Plaintiffs

indicated at the June 4, 2018, status conference with the Special Master, information provided by


                                                 8
        Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 9 of 10



Southwest to Plaintiffs took place in the context of Southwest providing information to Plaintiffs

and also in response to questions posed by Plaintiffs’ counsel. No transcripts were made of the

sessions held to-date between Plaintiffs and Southwest.

       It is understandable—indeed expected—that Defendants want to discover what

Southwest knows about any alleged price fixing and capacity reductions, among many other

facts. In neither their briefs nor oral argument, however, did Defendants articulate a convincing

reason as to why discovery of Plaintiffs’ understanding of Southwest’s facts would assist

Defendants in developing their defense.

       Southwest is the entity with first-hand knowledge of the information Defendants seek,

and Defendants’ have not argued their ability to discover facts directly from Southwest is

compromised. At this point, there is no persuasive reason to order Plaintiffs to provide

Defendants with information Plaintiffs gleaned from Southwest. Moreover, insofar as

information came from the proffers of Southwest’s counsel or other persons providing second-

hand information, such information does not constitute the first-hand testimony that Defendants

may want from Southwest. See, Fed. R. Civ. P. 26(b)(C)(1) (A court should limit discovery if it

determines that “the discovery . . . can be obtained from some other source that is more

convenient, less burdensome, or less expensive.”)

       Interrogatory No. 16(a) seeks the identity of the industry expert “regarding the domestic

air transportation industry” that the Settlement Agreement requires Southwest to make available

to Plaintiffs. If Plaintiffs retain the industry expert in question, Defendants will learn of the

expert’s identity in due course. [See, Expert Stipulation and Order, March 13, 2017 (ECF No.

159)]. At such time, Defendants will have ample opportunity to examine the person. Now,



                                                   9
       Case 1:15-mc-01404-CKK Document 246 Filed 06/13/18 Page 10 of 10



however, Defendants have provided no persuasive reason why they need to know the identity of

the industry expert provided to Plaintiffs by Southwest.

       In Interrogatory No. 16(b) Defendants seek the identities of present or former Southwest

employees Southwest has or will make available to Plaintiffs for interviews. Here, again,

Defendants have failed to establish any need or entitlement to obtain such information from

Plaintiffs. Defendants have the ability under the Federal Rules of Civil Procedure to seek from

Southwest the names and contact information of individuals with knowledge of the claims and

defenses and then decide whether to depose such persons. Asking Plaintiffs to identify the

persons from Southwest that Plaintiffs interviewed as part of the settlement process does not aid

Defendants’ preparation of their defense.

       Accordingly, the Special Master recommends denying Defendants’ Motion to Compel

answers to Interrogatories Nos. 15, and 16(a) and (b). Defendants have the documents

Southwest produced to Plaintiffs, and Defendants may depose Southwest witnesses directly

under Federal Rule Civil Procedure 30. Rule 30(b)(6) gives Defendants the traditional

mechanism to narrow discovery against an organization.

                                            Conclusion

       For the reasons set out above, the Special Master recommends the Court order Plaintiffs

to answer Defendants’ Interrogatories 8 and 9, in full, and Interrogatory 10, as limited above, by

July 23, 2018. The Special Master also recommends the Court deny Defendants’ motion to

compel as to interrogatories 15 and 16(a) and (b).



Date: ________June 13, 2018_______                                        /s/
                                                                Hon. Richard A. Levie (Ret.)
                                                                   Special Master

                                                10
